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                                                  Andrew J. Mase, Bar No. 300680
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                                                  THE RYAN FIRM
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                                                                         UNITED STATES DISTRICT COURT
                                             10
                                             11                       NORTHERN DISTRICT OF CALIFORNIA

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                                                   TIMOTHY S. BOSTWICK, an                  )       CASE NO.: 3:21-cv-02560-LB
                                             14    individual; and MICHELE L.               )       Date Action Filed: April 8, 2021
                                             15    NESSIER, an individual;                  )
                                                                                            )       Assigned for All Purposes to
                                             16                 Plaintiffs,                 )       Hon. Laurel Beeler
                                             17                                             )       Courtroom B
                                                   vs.                                      )
                                             18                                             )       MOTION IN LIMINE NO. 3 BY
                                             19    SETERUS, INC., a business entity;        )       DEFENDANT SETERUS, INC. TO
                                                   US BANK, N.A., a business entity;        )       EXLCUDE ANY EVIDENCE OF
                                             20    SN SERVICING CORP, a business            )       PLAINTIFFS’ CLAIMED CREDIT
                                             21    entity; and DOES 1 through 10,           )       DAMAGES (I.E., LOST PROFITS OF
                                                   inclusive,                               )       PLAINTIFFS’ SEPARATE BUSINESS
                                             22                                             )       ENTITY); DECLARATION OF
                                             23                 Defendants.                 )       MICHAEL W. STOLTZMAN JR.
                                                                                            )
                                             24                                             )       Date:         November 9, 2023
                                             25
                                                                                            )       Time:         1:00 p.m.
                                                                                            )       Dept.:        B
                                             26                                             )
                                                                                            )       Trial Date:   December 18, 2023.
                                             27
                                                                                            )
                                             28                                             )
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                                                                                     Motion in Limine No. 3
                                                   Case 3:21-cv-02560-LB Document 165 Filed 09/28/23 Page 2 of 27




                                              1          PLEASE TAKE NOTICE that defendant Seterus, Inc. (“Seterus” or “Defendant”)
                                              2   submits this motion in limine to exclude any evidence proffered by plaintiffs Michele
                                              3   Nessier and/or Timothy Bostwick (“Plaintiffs”) at trial related to Plaintiffs’ alleged “credit
                                              4   damages” (i.e., lost profits of Plaintiffs’ separate business entity—AMI Staging).
                                              5
                                              6    DATED: September 8, 2023                          THE RYAN FIRM
                                                                                                     A Professional Corporation
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                                              9
                                                                                                     By:
                                             10                                                            TIMOTHY M. RYAN
                                             11
                                                                                                           MICHAEL W. STOLTZMAN, JR.
                                                                                                           Attorneys for Defendant Seterus, Inc.
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                                                                                       Motion in Limine No. 3
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                                              1                    MEMORANDUM OF POINTS AND AUTHORITIES
                                              2   1.      INTRODUCTION AND SUMMARY
                                              3           Defendant Seterus, Inc. (“Seterus” or “Defendant”) submits this motion in limine to
                                              4   exclude any evidence proffered by plaintiffs Michele Nessier and/or Timothy Bostwick
                                              5   (“Plaintiffs”) at trial related to Plaintiffs’ alleged “credit damages” (i.e., lost profits).
                                              6           Specifically, Defendant believes that Plaintiffs intend to prove damages in this case
                                              7   by arguing that Defendant’s acts and/or omissions caused them to file bankruptcy, and that
                                              8   this bankruptcy filing somehow precluded Plaintiffs’ separate business entity (i.e., AMI
                                              9   Staging) from obtaining loans (which had to be personally guaranteed by Plaintiffs), the
                                             10   proceeds from which would have led to $1-3M in additional profit to that entity.
                                             11           However, Plaintiffs did not disclose the required computation of this category
                                             12   of damages in their Initial Disclosures pursuant to Federal Rules of Procedure, Rule 26.1
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                                             13   Likewise, Plaintiffs never supplemented their Initial Disclosures to provide this
                                             14   computation of damages. Further, Plaintiffs only cursorily disclosed that they were
                                             15   seeking $100,000.00 in “credit damages.” Defendant now believes that Plaintiffs seek the
                                             16   recovery of $1-3M for this category of damages at trial. But, again, Plaintiffs never
                                             17   supplemented their disclosures to reveal this severe escalation in the sum of damages
                                             18   sought. Plaintiffs cannot demonstrate any substantial justification for this failure. Indeed,
                                             19   this case has been ongoing since 2019 and was not removed until 2+ years later in 2021.
                                             20   Plaintiffs’ failure to comply with Rule 26 is simply inexcusable.
                                             21           Plaintiffs must also be precluded from introducing evidence of their alleged “credit”
                                             22   damages (i.e., damages to their separate business entity—AMI Staging) as the Rosenthal
                                             23   Act only allows a debtor—i.e., a “natural person”—to recover damages. Plaintiffs’
                                             24   separate business entity is not a natural person and was not the “debtor” on the subject loan.
                                             25   Thus, evidence of any damages to Plaintiffs’ separate business entity must be excluded.
                                             26
                                             27   1
                                                   Plaintiffs also failed to make available for inspection and copying all documents or other
                                             28   evidentiary material upon which this computation is allegedly based. This failure is
                                                  detailed separately in Defendant’s Motion in Limine No. 2.
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                                                                                  Memorandum of Points and Authorities
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                                              1          Plaintiffs’ alleged “credit” damages (i.e., their separate business entity’s purported
                                              2   lost profits) must also be excluded because they are far too speculative to be recoverable,
                                              3   particularly in the absence of any expert witness testimony regarding lending guidelines
                                              4   (Plaintiffs only designated one expert but he was subsequently excluded by court order).
                                              5          Thus, Defendant respectfully requests that the Court grant its motion and exclude
                                              6   all evidence proffered by Plaintiffs related to alleged “credit damages” (i.e., lost profits).
                                              7   2.     PLAINTIFFS HAVE TOTALLY SHIRKED THEIR DUTIES UNDER RULE
                                              8          26 AND ANY ALLEGED “CREDIT DAMAGES” MUST BE EXCLUDED
                                              9          Plaintiffs tendered Initial Disclosures in this case that did not disclose the required
                                             10   computation of their claimed “credit damages” (i.e., lost profits to their separate business
                                             11   entity—AMI Staging). And they never supplemented their Initial Disclosures to provide
                                             12   this calculation. Further, Plaintiffs only disclosed that they were seeking $100,000.00 for
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                                             13   this category of damages. However, Defendant believes that Plaintiffs will seek $1-3M at
                                             14   trial for this category of damages. But, again, Plaintiffs never disclosed this substantial
                                             15   increase at any point in the last 2.5 years since their Initial Disclosures were made. As a
                                             16   result, and to avoid a clear case of prejudice to Defendant, Plaintiffs must be precluded
                                             17   from attempting to introduce any evidence of their claimed “credit damages” at trial; at the
                                             18   very least, Plaintiffs’ recovery must be limited to $100,000.00.
                                             19          Pursuant to Rule 26, every party to litigation must serve initial disclosures, which
                                             20   provides “a computation of each category of damages claimed by the disclosing party—
                                             21   who must also make available for inspection and copying as under Rule 34 the documents
                                             22   or other evidentiary material, unless privileged or protected from disclosure, on which each
                                             23   computation is based, including materials bearing on the nature and extent of injuries
                                             24   suffered.” FRCP, Rule 26(a)(1)(A)(iii); Hewlett Packard Co. v. Factory Mut. Ins. Co.
                                             25   (S.D. N.Y. 2006) 2006 WL 1788946, at *14 (explaining that “early disclosure of a party’s
                                             26   damages computation provide[s] [the] opposing party with an early understanding of the
                                             27   basis and amount of any damages claim it is facing, so that it may conduct meaningful
                                             28   discovery as to the underpinning of such a claim”).

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                                                                                 Memorandum of Points and Authorities
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                                              1          To satisfy Rule 26(a)(1)(A)(iii), the disclosing party must provide more than a lump
                                              2   sum statement of the damages allegedly sustained; to make the disclosure obligation
                                              3   meaningful, a more detailed specification of damages is required. Silver State Broad., LLC
                                              4   v. Beasley FM Acquisition (D. Nev. 2016) 2016 WL 320110, at *2; City & County of San
                                              5   Francisco v. Tutor-Saliba Corp. (N.D. Cal. 2003) 218 FRD 219, 221 (“the ‘computation’
                                              6   of damages required by Rule 26(a)(1)(C) contemplates some analysis”). For example, a
                                              7   plaintiff’s disclosing “lump sums for each year of decline in its business and a lump sum
                                              8   for lost business opportunities” without “describ[ing] the assumptions required to calculate
                                              9   those lump sums” or “explain[ing] how it calculated its annual lost revenues, or how it
                                             10   calculated damages from lost business opportunities,” is insufficient to comply with Rule
                                             11   26. Valley Surgical Ctr. v. Cty. of Los Angeles (C.D. Cal. 2017) 2017 WL 10574240, at
                                             12   *3; Ackerley Communications, Inc. (S.D. N.Y. 2001) 2001 WL 15683 at *6, n. 6
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                                             13   (calculation of damages requires more than merely setting forth figure demanded); Kleiner
                                             14   v. Burns (D. Kan. 2000) 2000 WL 1909470 at *2 (defendant is entitled to a “specific
                                             15   computation” of damages).
                                             16          Further, after initial disclosures are made, a party is under a duty to supplement or
                                             17   correct the disclosure to include later-acquired information. FRCP, Rule 26(e); see, e.g.,
                                             18   City & County of San Francisco v. Tutor-Saliba Corp. (N.D. Cal. 2003) 218 FRD 219, 222
                                             19   (as discovery proceeds, plaintiffs must supplement their initial damages disclosure to
                                             20   reflect the information obtained through discovery). The burden is not on the opposing
                                             21   party to request updated information as it becomes available. Adams v. Teck Cominco
                                             22   Alaska, Inc. (D. Alaska 2005) 231 FRD 578, 580.
                                             23          A party that, without substantial justification, fails to disclose information required
                                             24   by Rule 26 is not, unless such failure is harmless, permitted to use as evidence at a trial, at
                                             25   a hearing, or on a motion any witness or information not so disclosed. FRCP, Rule
                                             26   37(c)(1); Yeti by Molly Ltd. v. Deckers Outdoor Corp. (9th Cir 2001) 259 F.3d 1101, 1106
                                             27   – 07. Similarly, if a disclosing party fails to supplement its disclosures as required by Rule
                                             28   26(e), that supplemental evidence is also subject to the sanction of exclusion under Rule

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                                                                                 Memorandum of Points and Authorities
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                                              1   37(c)(1). See Adams v. Teck Cominco Alaska, Inc. (D. Alaska 2005) 231 FRD 578, 581.
                                              2   This sanction is “self-executing” and “automatic.” FRCP Rule 37(c), Committee Note of
                                              3   1993; see also Olson v. Montana Rail Link, Inc. (D. Mont. 2005) 227 FRD 550, 553.
                                              4          As a result, the burden is on the party attempting to avoid sanctions to prove
                                              5   harmlessness and/or that the failure to disclose was substantially justified. See Yeti by
                                              6   Molly, Ltd. v. Deckers Outdoor Corp. (9th Cir. 2001) 259 F.3d 1101, 1106 – 07.
                                              7          However, a party cannot meet that burden simply by arguing that it had not fully
                                              8   completed its investigation of the case at the time the disclosures were made. FRCP, Rule
                                              9   26(a)(1)(E).    Indeed, each disclosing party must conduct a sufficiently diligent
                                             10   investigation into the evidence it has or controls to permit it to disclose the information
                                             11   concerning each category of the required initial disclosures of which the party has or should
                                             12   have knowledge. FRCP, Rule 26(a)(1)(E); Lintz v. American Gen. Fin., Inc. (D. Kan. Aug.
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                                             13   1999) 1999 U.S. Dist. LEXIS 12572, at *4 – 5.
                                             14          This case was filed in January 2019 in the Superior Court of the State of California.
                                             15   Dec. of Stoltzman, at ¶ 3. After SN Servicing Corporation was subsequently added as a
                                             16   defendant in this case, it removed this case to this Court in April 2021—2 years after the
                                             17   case was filed and after Plaintiffs had more than ample opportunity to investigate the facts
                                             18   of this case. Dec. of Stoltzman, at ¶ 4.
                                             19          On July 1, 2021, Plaintiffs served Initial Disclosures. Therein, Plaintiffs disclosed:
                                             20          Plaintiffs also seek monetary damages to compensate for the destruction of
                                             21          their credit. Plaintiffs cannot, at this time, fully compute the extent of these
                                             22          damages, but anticipate expert testimony will be used to determine what
                                             23          monetary value credit destruction has. Plaintiffs believe the destruction to
                                             24          credit has resulted in approximately $100,000.00 of damages from inability
                                             25          to obtain refinancing or other loans for personal and business use. Plaintiffs
                                             26          will supplement disclosures with computation of damages as soon as the
                                             27          monetary value credit destruction is determined.
                                             28   Dec. of Stoltzman, at ¶ 5, Exhibit 1.

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                                              1          And, despite this case being pending for 5 years, and their Initial Disclosures having
                                              2   been made more than 2.5 years ago, Plaintiffs have never supplemented their Initial
                                              3   Disclosures, as was required of them by Rule 26. Dec. of Stoltzman, at ¶ 6.
                                              4          Thus, Plaintiffs’ disclosure is inadequate since it contains nothing more than a lump
                                              5   sum statement of the claimed damages. Indeed, Plaintiffs do not describe how exactly
                                              6   Defendant’s actions and/or omissions supposedly harmed their credit, much less resulted
                                              7   in “approximately $100,000.00 of damages from inability to obtain refinancing or other
                                              8   loans for personal and business use.” Plaintiffs further fail to describe how they calculated
                                              9   the claimed damages of $100,000.00. City & County of San Francisco v. Tutor-Saliba
                                             10   Corp. (N.D. Cal. 2003) 218 FRD 219, 221. As a result, Plaintiffs must be precluded from
                                             11   introducing any evidence regarding this category of damages at trial.
                                             12          Similar facts were before the Court in Grouse River Outfitters Ltd v. Oracle Corp.
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                                             13   (N.D. Cal. 2019) 2019 U.S. Dist. LEXIS 112869. There, the defendant moved to exclude
                                             14   evidence of certain damages claimed by the plaintiff on the grounds that the plaintiff did
                                             15   not provide the computation of damages required by Rule 26(a)(1)(A)(iii). In that case,
                                             16   the plaintiff produced an initial chart of claimed damages with its initial disclosures,
                                             17   updated that chart at a later time, and then subsequently produced a spreadsheet in support
                                             18   of its claimed damages. However, the Court found that, despite the plaintiff’s disclosure
                                             19   of the sum of certain amounts of damages, the plaintiff failed to provide any explanation
                                             20   for how the damages figures were calculated and what assumptions were relied upon to
                                             21   arrive at the damages figures; as a result, the plaintiff was precluded from introducing
                                             22   evidence pertaining to those categories of damages at trial. Id. at *4 – 12; Valley Surgical
                                             23   Ctr. v. Cty. of Los Angeles (C.D. Cal. 2017) 2017 WL 10574240, at *3 (simply disclosing
                                             24   “lump sum” damages, without describing how that sum was calculated is insufficient to
                                             25   satisfy Rule 26). The ruling in Grouse was appealed by the plaintiff but affirmed by the
                                             26   9th Circuit. Grouse River Outfitters, Ltd. v. Oracle Corp. (9th Cir. 2021) 2021 U.S. App.
                                             27   LEXIS 5756, *6 – 9 (“Rule 26(a)(1)(A)(iii) contemplates damages computation analysis
                                             28   and explanation . . . . Here, both were lacking . . . .”) (emphasis added).

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                                              1          There is a plethora of authorities from this District and others that hold identically.
                                              2   City & County of San Francisco v. Tutor-Saliba Corp. (N.D. Cal. 2003) 2003 U.S. Dist.
                                              3   LEXIS 17306, *8 – 15 (excluding requested damages because plaintiff provided nothing
                                              4   more than a “lump sum statement of the damages allegedly sustained”); Mariscal v. Graco,
                                              5   Inc. (N.D. Cal. 2014) 2014 U.S. Dist. LEXIS 120182, *4 – 6 (excluding damages due to
                                              6   failure to provide required “computation” of damages); Colombini v. Members of the Bd.
                                              7   of Dirs. (N.D. Cal. 2001) 2001 U.S. Dist. LEXIS 13405, *24 – 26 (excluding damages
                                              8   when plaintiff merely disclosed the sum of claimed damages but “utterly failed to provide
                                              9   a calculation of those damages”); Corwin v. Gorilla Cos. LLC (D.C. Ariz. 2011) 454 B.R.
                                             10   115, 119 – 20 (damages excluded when no “computation” was provided, regardless of
                                             11   whether it was ever requested pursuant to Rule 34); City of Rome v. Hotels.com, L.P. (11th
                                             12   Cir. 2013) 2013 U.S. App. LEXIS 24745, *22 26 (excluding undisclosed “computation”
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                                             13   of damages, despite plaintiff’s argument that their method of calculation was uncertain);
                                             14   Am. Realty Trust, Inc. v. Matisse Partners, L.L.C. (N.D. Tex. 2002) 2002 U.S. Dist. LEXIS
                                             15   12560, *10 – 22 (excluding evidence of damages when plaintiff “failed to specify the
                                             16   calculation utilized to arrive at their $ 30 million damage figure” and “failed to provide
                                             17   complete information as to the elements that comprise their damage calculation”).
                                             18          Though Defendant is not required to demonstrate same, this has plainly prejudiced
                                             19   Defendant as it has been deprived of the opportunity to conduct discovery regarding
                                             20   Plaintiffs’ claimed damages to their business entity—AMI Staging. Dec. of Stoltzman at
                                             21   ¶ 7. Further, Plaintiffs cannot demonstrate any substantial justification for their failure to
                                             22   provide the required “computation” in their Initial Disclosures—or to supplement their
                                             23   Initial Disclosures at any time in the last 2.5 years.
                                             24          As a result, this category of damages must be excluded from trial. At an absolute
                                             25   minimum, Plaintiffs must be limited to claiming no more than $100,000.00 for this
                                             26   category of alleged “credit damages.”
                                             27   ///
                                             28   ///

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                                              1   3.     PLAINTIFFS         CANNOT         RECOVER            DAMAGES        UNDER        THE
                                              2          ROSENTHAL ACT FOR THEIR SEPARATE BUSINESS ENTITY’S LOST
                                              3          REVENUE/PROFITS AS IT DOES NOT QUALIFY AS A “DEBTOR”
                                              4          Plaintiffs must also be precluded from introducing evidence of the lost profits
                                              5   suffered by their separate business entity (i.e., AMI Staging) because the Rosenthal Act
                                              6   only allows a debtor—i.e., a “natural person”—to recover damages. Plaintiffs’ separate
                                              7   business entity is not a “natural person” and was not the “debtor” on the subject loan. As
                                              8   a result, evidence of any damages to Plaintiffs’ separate business entity must be excluded.
                                              9          Civil Code section 1788.30 provides that, a debt collector that violates the Rosenthal
                                             10   Act shall be liable to a “debtor” for “damaged sustained by the debtor” as a result of the
                                             11   violation. Civ. Code § 1788.30, subd. (a) (emphasis added). Civil Code section 1788.2
                                             12   further defines the term “debtor” to mean a “natural person from whom a debt collector
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                                             13   seeks to collect a consumer debt that is due and owing or alleged to be due and owing
                                             14   from such person.” Civ. Code § 1788.2, subd. (h) (emphasis added).
                                             15          In this case, Plaintiffs’ business entity (i.e., AMI Staging) does not qualify as a
                                             16   “debtor” because: (1) it is not a “natural person”; and (2) it is not the borrower of the loan
                                             17   and, thus, was not the subject of Defendant’s purported collection efforts.
                                             18          Indeed, the business entity at issue is an entity named AMI Staging and is either a
                                             19   corporation or limited liability company (Plaintiffs own two entities by this name, one of
                                             20   which is a corporation and one of which is a limited liability company—and Plaintiffs have,
                                             21   critically, not specified which business they are claiming suffered the alleged lost profits).
                                             22   Dec. of Stoltzman at ¶ 8. Either way, it is an entity in and of itself—completely distinct
                                             23   from Plaintiffs. Erkenbrecher v. Grant (1921) 187 Cal. 7, 9 – 10 (“[A] corporation is an
                                             24   entity separate and distinct from its stockholders . . . .”); Corp. Code § 17701.04, subd. (a)
                                             25   (“A limited liability company is an entity distinct from its members”). And, this entity was
                                             26   not the borrower of the loan that is the subject of this action. Rather, as Plaintiffs readily
                                             27   concede in the operative complaint, the loan was made to Plaintiffs—not any separate
                                             28   business entity (i.e., AMI Staging). ECF No. 54, at ¶¶ 12 – 14. As Plaintiffs’ separate

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                                              1   business entity is not a “debtor” pursuant to the Rosenthal Act, Plaintiffs cannot recover
                                              2   any damages sustained by that entity—even if Defendant did violate the Rosenthal Act.
                                              3          A similar situation was before the court in Johnson v. Wells Fargo Home Mortg.,
                                              4   Inc. (D. Nev. 2008) 558 F.Supp.2d 1114. Therein, an individual plaintiff sued a defendant
                                              5   for actual damages pursuant to the Fair Credit Reporting Act (“FCRA”); specifically, the
                                              6   plaintiff sought damages for losses suffered by their business and/or commercial entities
                                              7   (including lost profits and/or lost real estate opportunities) that were the result of denials
                                              8   of credit and increased interest rates and fees. Id. at 1121 – 22. Defendant, on the other
                                              9   hand, argued that such damages are not recoverable under the FCRA. Id. The court agreed,
                                             10   holding that such damages were not recoverable since FCRA limits damages caused to the
                                             11   “consumer” (i.e., the borrower individually, not his separate business entities) Id. at 1122
                                             12   – 23. The court further noted that a “consumer” must “be an individual and cannot be a
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                                             13   business or a group of people.” Id. at 1125. Based on these basic principles of law, the
                                             14   Johnson court disallowed the plaintiff from recovering damages for, among other things:
                                             15           Increased interest rates and fees on a loan obtained by a business entity owned
                                             16             by plaintiff (“The FCRA only protects individual consumers, not business
                                             17             entities, and any damages associated with this loan were suffered by Vancouver
                                             18             R.E. Investments LLC, not Plaintiff as an individual consumer”);
                                             19           Brokerage fees on loans made to an entity owned by plaintiff (“The FCRA only
                                             20             protects individual consumers, not business entities, thus any damages sustained
                                             21             by these business entities are not recoverable under the FCRA”);
                                             22           Fees paid by companies owned by the plaintiff (“the FCRA only protects
                                             23             individual consumers and not business entities; therefore, any late fees incurred
                                             24             by Plaintiff's limited liability companies are not recoverable under the FCRA”);
                                             25           Lost profits suffered by plaintiff’s separate business entity because it could not
                                             26             obtain a loan to finance a lawsuit that would have allegedly increased the
                                             27             business’ profits (“Plaintiff cannot claim consumer damages stemming from a
                                             28             lawsuit brought by his corporation”);

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                                              1           Extension fees on a loan obtained by one of plaintiff’s separate business entities
                                              2             (“The FCRA only protects individual consumers, not business entities; thus, any
                                              3             fees paid or damages incurred by Tahoe Reno Development are not recoverable
                                              4             under the FCRA”);
                                              5           Lost profits from the sale of properties by the plaintiff’s separate business entity
                                              6             (“[A]ny anticipated profits and cash flow would have been realized by Plaintiff's
                                              7             limited liability companies and not Plaintiff. And any losses associated with
                                              8             these sales would also have be realized by Plaintiff's limited liability companies,
                                              9             as well. Because the FCRA only protects individual consumers, losses to
                                             10             Plaintiff's limited liability companies are not recoverable under the FCRA”);
                                             11           Lost business opportunities (“Plaintiff is not entitled to business damages
                                             12             unrelated to his status as a consumer as the FCRA was designed to protect the
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                                             13             individual consumer, not the individual’s businesses”);
                                             14   Johnson v. Wells Fargo Home Mortg., Inc. (D. Nev. 2008) 558 F.Supp.2d 1114, 1127 – 32
                                             15   (appealed and affirmed in part, and reversed in part—on other grounds).
                                             16          Plaintiffs will likely attempt to draw a distinction between this authority—which
                                             17   interpreted the FCRA—and this case—which concerns the Rosenthal Act (a California-
                                             18   specific version of the Fair Debt Collection Practices Act). However, there is no legitimate
                                             19   basis for any attempted distinction by Plaintiffs.
                                             20          Indeed, both statutes are consumer protection statutes that are designed to protect
                                             21   consumers—not business entities. Further, FCRA’s statutory scheme is defined nearly
                                             22   identically to the Rosenthal Act; as a result, holdings concerning the applicability of FCRA
                                             23   are perfectly analogous to the Rosenthal Act. Indeed, FCRA allows a “consumer” to
                                             24   recover any “actual damages sustained by the consumer.” 15 U.S.C. §1681n, subd.
                                             25   (a)(1)(A); 15 U.S.C. §1681o, subd. (a)(1). And the FCRA defines a “consumer” to be an
                                             26   “individual.” 15 U.S.C. §1681a, subd. (c). This is virtually identical to the Rosenthal Act,
                                             27   which only allows a “debtor” to recover damages, and defines a “debtor” as a “natural
                                             28   person.” Civ. Code § 1788.30, subd. (a); Civ. Code § 1788.2, subd. (h).

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                                              1          As a result, Plaintiffs cannot use their lone claim for a violation of the Rosenthal
                                              2   Act to recover lost profits and/or business opportunities sustained by their separate business
                                              3   entity—even if caused by any violation of the Rosenthal Act. Indeed, the Rosenthal Act is
                                              4   a consumer protection statute and Plaintiffs’ separate business entity is not a “natural
                                              5   person” and was not the borrower of the loan. Thus, these damages must be excluded.
                                              6   4.     PLAINTIFFS’           SEPARATE              BUSINESS          ENTITY’S          LOST
                                              7          REVENUE/PROFITS IS FAR TOO SPECULATIVE TO BE ADMISSIBLE
                                              8          Plaintiffs’ alleged “credit” damages (i.e., their separate business entity’s purported
                                              9   lost profits) must also be excluded because they are far too speculative to be recoverable,
                                             10   particularly in the absence of any expert witness testimony regarding lending guidelines
                                             11   (Plaintiffs only designated one expert but he was subsequently excluded by court order).
                                             12          “The general principle is that damages for the loss of prospective profits are
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                                             13   recoverable where the evidence makes reasonably certain their occurrence and extent.”
                                             14   Sargon Enters., Inc. v. Univ. of S. Cal. (2012) 55 Cal.4th 747, 773; see Vestar Development
                                             15   II, LLC v. General Dynamics Corp. (9th Cir. 2001) 249 F.3d 958, 961 (lost profits claim
                                             16   too speculative where plaintiff sought “future profits that it hoped to earn from the
                                             17   shopping center it had planned to build on the parcel it was attempting to buy”); Greenwich
                                             18   S.F., LLC v. Wong (2010) 190 Cal.App.4th 739, 766 (finding lost profits claim too
                                             19   speculative where the plaintiff assumed, rather than proved, the reasonable certainty of
                                             20   future predicate events upon which the damages depended); Beijing Ton Ren Tang (USA),
                                             21   Corp. v. TRT USA Corp. (N.D. Cal. 2011) 2011 U.S. Dist. LEXIS 135417 (finding that
                                             22   “profits projected by [party]’s business plan are too speculative to meet the legal standard
                                             23   of reasonable certainty necessary to support an award of damages for lost profits”).
                                             24          To meet the “reasonably certain” standard for recovering “lost profits” damages,
                                             25   courts have generally required plaintiffs to prove that it is more likely than not (a greater
                                             26   than 50% chance) that the projected consequence will occur. Onyx Pharms., Inc. v. Bayer
                                             27   Corp. (N.D. Cal. 2011) 863 F.Supp.2d 894, 901 – 05; see also Wagner v. Apex Marine
                                             28   Ship Mgmt. Corp. (2000) 83 Cal.App.4th 1444, 1452.

                                                                                                10

                                                                                Memorandum of Points and Authorities
                                                   Case 3:21-cv-02560-LB Document 165 Filed 09/28/23 Page 13 of 27




                                              1          Here, as discussed above, Plaintiffs’ theory of “credit” damages is that Defendant’s
                                              2   acts and/or omissions caused them to file bankruptcy, and that this bankruptcy filing
                                              3   somehow precluded Plaintiffs’ separate business entity (i.e., AMI Staging) from obtaining
                                              4   loans (which had to be personally guaranteed by Plaintiffs), the proceeds from which would
                                              5   have led to $1-3M in additional profit to that entity. However, these alleged “credit”
                                              6   damages (i.e., lost profits) are far too speculative to be recoverable.
                                              7          A similar situation was presented in Grouse River Outfitters Ltd. v. Oracle Corp.
                                              8   (N.D. Cal. 2019) 2019 U.S. Dist. LEXIS 106402. Therein, the defendant sought to exclude
                                              9   the plaintiff’s alleged lost profits on several grounds, including the fact that there was no
                                             10   basis for opining whether the alleged lost profits were caused by the defendant, as opposed
                                             11   to other factors. Id. at *23 – 24. The court agreed, finding these opinions based on
                                             12   “‘nothing more’ than correlation” to be “speculative, unreliable, misleading to the court
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                                             13   and jury, and properly excludable under Federal Rules of Evidence 702 and 403.” Id. at
                                             14   *25; see also Oculu, LLC v. Oculus VR, Inc. (C.D. Cal. 2015) 2015 U.S. Dist. LEXIS
                                             15   182768 (excluding lost profits damages where opinion on timing correlation and did not
                                             16   consider, much less rule out, other possible causes for drop in website traffic).
                                             17          Also, in Magnetar Techs. Corp. v. Intamin, Ltd. (9th Cir. 2015) 801 F.3d 1150, the
                                             18   defendant sought to exclude testimony about “lost profits” where the witness did not testify
                                             19   about what portion of the alleged lost profits could be attributed to the defendant versus
                                             20   other sources. Id. at 1159. The court agreed, noting that “[s]everal other factors could
                                             21   have contributed to Magnetar’s losses, such as the decline in profits in the amusement ride
                                             22   business, or the decline of the U.S. economy generally”). Id. The court noted that, without
                                             23   such evidence, it would be “impossible” for a fact-finder to estimate the alleged lost profits.
                                             24   Id. at 1159 – 60. The court also noted that a mere “correlation” does not suffice. Id.
                                             25          These opinions are virtually identical to this case as Plaintiffs cannot testify—as lay
                                             26   witnesses—that it was “reasonably certain” (i.e., at least more than 50% probable)—that:
                                             27   (1) Defendant’s acts and/or omissions were the cause of their bankruptcy filing (as opposed
                                             28   to Plaintiffs’ years’ long default on the loan, failure accept several prior loan modifications,

                                                                                                 11

                                                                                 Memorandum of Points and Authorities
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                                              1   and failure to cure their arrears on the loan); (2) Defendant’s acts and/or omissions were
                                              2   the sole cause of their alleged inability to get a loan (i.e., that Plaintiffs were barred as a
                                              3   matter of law from obtaining a business loan simply because they had a bankruptcy on their
                                              4   record, that any alleged failure to or inability to obtain a loan was not simply the result of
                                              5   Plaintiffs’ failure—for several years—to make payments on both their principal residence
                                              6   and the subject property, and that they could not have obtained a loan from any lender; and
                                              7   (3) that, if Plaintiffs had been able to obtain the subject loan, they would have been able to
                                              8   exponentially grow their business to the tune of $1-3M in additional profits (this failure is
                                              9   especially notable as Plaintiffs cannot present testimony regarding what effect the COVID-
                                             10   19 pandemic or the general economic decline had on their business).
                                             11          The speculative nature of Plaintiffs’ alleged damages is further bolstered by the fact
                                             12   that they have not retained any expert witnesses to testify about their creditworthiness
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                                             13   and/or lending guidelines. Thus, Plaintiffs cannot establish that, based on Plaintiffs’ then-
                                             14   existing credit, they would have been able to obtain a loan but for the foreclosure (i.e.,
                                             15   that the reason Plaintiffs could not obtain a loan was due to Defendant’s loan servicing and
                                             16   the resulting foreclosure proceedings). Indeed, Plaintiffs cannot provide what would be
                                             17   expert testimony regarding the general lending community’s underwriting guidelines and,
                                             18   thus, prove that they would have been able to get a loan absent the foreclosure.
                                             19          As a result, Plaintiffs’ alleged “credit” damages (i.e., lost profits to their business)
                                             20   must be additionally excluded on the grounds that they are far too speculative.
                                             21   5.     DEFENDANT MET AND CONFERRED WITH PLAINTIFFS PRIOR TO
                                             22          FILING THIS MOTION IN LIMINE
                                             23          Prior to filing this motion in limine, Defendant’s counsel met and conferred with
                                             24   Plaintiffs’ counsel on the issue(s) addressed by this motion in limine; however, Plaintiffs’
                                             25   counsel refused to stipulate to the relief sought in this motion. Dec. of Stoltzman at ¶ 9.
                                             26   ///
                                             27   ///
                                             28   ///

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                                                                                 Memorandum of Points and Authorities
                                                   Case 3:21-cv-02560-LB Document 165 Filed 09/28/23 Page 15 of 27




                                              1   6.     CONCLUSION
                                              2          For the foregoing reasons, Defendant respectfully requests that the Court grant its
                                              3   motion and exclude any evidence proffered by plaintiffs Michele Nessier and/or Timothy
                                              4   Bostwick (“Plaintiffs”) at trial related to Plaintiffs’ alleged “credit damages” (i.e., lost
                                              5   profits of Plaintiffs’ separate business entity—AMI Staging).
                                              6
                                              7    DATED: September 8, 2023                        THE RYAN FIRM
                                                                                                   A Professional Corporation
                                              8
                                              9
                                                                                                   By:
                                             10                                                          TIMOTHY M. RYAN
                                                                                                         MICHAEL W. STOLTZMAN, JR.
                                             11
                                                                                                         Attorneys for Defendant Seterus, Inc.
                                             12
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                                                                                Memorandum of Points and Authorities
                                                   Case 3:21-cv-02560-LB Document 165 Filed 09/28/23 Page 16 of 27




                                              1                    DECLARATION OF MICHAEL W. STOLTZMAN JR.
                                              2          I, Michael W. Stoltzman Jr., declare:
                                              3          1.       I am an attorney admitted to practice law in the State of California.
                                              4          2.       I am an attorney at The Ryan Firm, attorneys of record herein for defendant
                                              5   Seterus, Inc. (“Seterus” or “Defendant”), and I have day-to-day dealings on this matter. If
                                              6   called to testify in this action, I could and would testify competently to all matters contained
                                              7   in this declaration based upon my own personal knowledge.
                                              8          3.       This case was originally filed in January 2019 in the Superior Court of the
                                              9   State of California.
                                             10          4.       After SN Servicing Corporation was added as a defendant in 2021, it
                                             11   removed the case to this Court in April 2021—2 years after the case was filed and after
                                             12   Plaintiffs had more than ample opportunity to investigate the facts of this case.
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                                             13          5.       On July 1, 2021, Plaintiffs served their Initial Disclosures. A true and correct
                                             14   copy of these Initial Disclosures is attached hereto as Exhibit 1 and is incorporated herein
                                             15   by reference.
                                             16          6.       Despite this case being pending for 5 years, and their Initial Disclosures
                                             17   having been made more than 2.5 years ago, Plaintiffs have never supplemented their
                                             18   Initial Disclosures, as was required of them by Rule 26.
                                             19          7.       Plaintiffs’ failure to properly disclose their alleged “credit” damages has
                                             20   prejudiced Defendant as it has been deprived of the opportunity to conduct discovery
                                             21   regarding Plaintiffs’ claimed damages to their business entity—AMI Staging.
                                             22          8.       The business entity for which Plaintiffs’ claim “credit” damages (i.e., lost
                                             23   profits) is an entity named AMI Staging and is either a corporation or limited liability
                                             24   company (Plaintiffs own two entities by this name, one of which is a corporation and one
                                             25   of which is a limited liability company—and Plaintiffs have, critically, not specified which
                                             26   business they are claiming suffered the alleged lost profits).
                                             27          9.       Before filing this motion, I met and conferred with Plaintiffs’ counsel
                                             28   regarding the issue(s) addressed by this motion in limine. During these discussions, I

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                                                                                  Declaration of Michael W. Stoltzman Jr.
                                                   Case 3:21-cv-02560-LB Document 165 Filed 09/28/23 Page 17 of 27




                                              1   requested that Plaintiffs stipulate to the relief requested by this motion. However, after
                                              2   meeting and conferring, I was not able to obtain a stipulation to the exclusion of the
                                              3   evidence that is the subject of this motion, thus necessitating this motion.
                                              4
                                              5          I declare under penalty of perjury under the laws of the State of California that the
                                              6   foregoing is true and correct. Executed this 8th day of September, 2023, at Tahoe Vista,
                                              7   California.
                                              8
                                              9
                                             10
                                                                              _________________________________________________
                                                                              MICHAEL W. STOLTZMAN JR., DECLARANT
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                                             12
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                                                                                Declaration of Michael W. Stoltzman Jr.
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                 EXHIBIT 1




                 EXHIBIT 1
       Case 3:21-cv-02560-LB Document 165 Filed 09/28/23 Page 19 of 27



 1   MATTHEW D. MELLEN (BAR NO. 233350)
     RAMONCHITO DE CASTRO (BAR NO. 332595)
 2   MELLEN LAW FIRM
     1050 MARINA VILLAGE PARKWAY, SUITE 102
 3   ALAMEDA, CA 94501
     TELEPHONE: (510) 263-9638
 4   FACSIMILE: (510) 995-8279
     EMAIL: EMAIL@MELLENLAWFIRM.COM
 5
     Attorneys for Plaintiff
 6   TIMOTHY S. BOSTWICK
     MICHELLE L. NESSIER
 7

 8
                                      UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10

11                                       SAN FRANCISCO DIVISION

12   TIMOTHY S. BOSTWICK, an individual; and              Case No. 3:21-CV-02560-LB
     MICHELE L. NESSIER, individual;
13                                                   PLAINTIFFS’ INITIAL DISCLOSURES
                        Plaintiffs,                  PURSUANT TO FEDERAL RULES OF
14                                                   CIVIL PROCEDURE 26(a)
            v.
15
     SETERUS, INC., a business entity; DOES 1
16   THROUGH 10 INCLUSIVE,

17                      Defendants.

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      PLAINTIFF’S INITIAL DISCLOSURES PURSUANT TO   -1-                               3:21-CV-02560-LB
      FEDERAL RULES OF CIVIL PROCEDURE 26(A)
      Case 3:21-cv-02560-LB Document 165 Filed 09/28/23 Page 20 of 27



 1                               PLAINTIFFS’ INITIAL DISCLOSURES

 2          Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs TIMOTHY S.

 3   BOSTWICK and MICHELLE L. NESSIER make the following initial disclosures. Plaintiffs

 4   have not completed their investigation into this matter and discovery has not been concluded. The

 5   following disclosures are based on the information presently available to Plaintiffs based on their

 6   current understanding of the claims as asserted herein. Plaintiffs reserve the right to supplement

 7   or modify these disclosures and to use any additional information, witnesses, or evidence at any

 8   time, up to and including trial, as the parties elaborate on the allegations or identify witnesses,

 9   new information is discovered, or new claims or theories are developed.

10   (1)    Names and Contact Information of Witnesses and individuals likely to have
            discoverable information (Fed. R. Civ. P. 26(a)(1)(A))
11
            The following persons are likely to have discoverable information Plaintiff may use to
12
     support its claims or defenses, unless the use would be solely for purposes of impeachment:
13
            (a)     Timothy Bostwick, Plaintiff. Mr. Bostwick has information regarding Subject
14
                    Loan payments, other loan payments, communications with Defendants and other
15
                    individuals concerning the Loans. Mr. Bostwick can be contacted through his
16
                    attorneys Matthew Mellen, Ramonchito De Castro, and Allison Erggelet of the
17
                    Mellen Law Firm, located at 1050 Marina Village Parkway, Ste. 102, Alameda,
18
                    CA 94501. Plaintiff’s counsel can also be contacted via telephone at (510) 263-
19
                    9638.
20
            (b)     Michelle Nessier, Plaintiff. Mrs. Nessier has information regarding Subject Loan
21
                    payments, other loan payments, communications with Defendants and other
22
                    individuals concerning the Loans. Mrs. Nessier can be contacted through her
23
                    attorneys Matthew Mellen, Ramonchito De Castro, and Allison Erggelet of the
24
                    Mellen Law Firm, located at 1050 Marina Village Parkway, Ste. 102, Alameda,
25
                    CA 94501. Plaintiff’s counsel can also be contacted via telephone at (510) 263-
26
                    9638.
27
            (c)     Ghidotti Berger. Erica Loftis has information regarding communications
28

      PLAINTIFF’S INITIAL DISCLOSURES PURSUANT TO      -2-                                  3:21-CV-02560-LB
      FEDERAL RULES OF CIVIL PROCEDURE 26(A)
      Case 3:21-cv-02560-LB Document 165 Filed 09/28/23 Page 21 of 27



 1                  pertaining to the property, specifically, regarding status during Bankruptcy and

 2                  Notice of Trustees Sale. Contact information unknown.

 3          (d)     Bank of America, N.A. BANA has information regarding origination of the

 4                  Subject Loan payments, other loan payments, communications with Defendants

 5                  and other individuals concerning the Loans. Contact information unknown.

 6          (e)     Federal National Mortgage Association. Should have knowledge of the veracity of

 7                  the allegations in the complaint. Contact information unknown.

 8          (f)     PLM Loan Management Services, Inc. Should have knowledge of the veracity of

 9                  the allegations in the complaint. Contact information unknown.

10          (g)     MTGLQ Investors, L.P. Should have knowledge of the veracity of the allegations

11                  in the complaint. Contact information unknown.

12          (h)     U.S. Bank Trust National Association, as Trustee of the Chalet Series III Trust.

13                  Should have knowledge of the veracity of the allegations in the complaint. Can be

14                  contacted through counsel.

15          (i)     Seterus, Inc. Should have knowledge of the veracity of the allegations in the

16                  complaint. Can be contacted through counsel.

17          (j)     SN Servicing Corporation. Jordan (last name unknown) should have knowledge of

18                  the veracity of the allegations in the complaint. Can be contacted through counsel.

19          (k)     Any unknown persons with knowledge of the servicing of the loan, Plaintiffs’

20                  alleged damages, and/or the allegations pled in the complaint (including, but not
21                  limited to, prior tenants of the subject property). Should have knowledge of the

22                  veracity of the allegations in the complaint. Contact information unknown.

23

24          Plaintiff reserves the right to update this list as additional documents and information are

25   produced by the parties, and as discovery continues in this case.

26
27   2. Documents and Things in Possession (Fed. R. Civ. P. 26(a)(1)(B))

28

      PLAINTIFF’S INITIAL DISCLOSURES PURSUANT TO    -3-                                 3:21-CV-02560-LB
      FEDERAL RULES OF CIVIL PROCEDURE 26(A)
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 1          All the below-referenced categories of documents are in the possession, custody and/or

 2   control of Plaintiffs. Copies of these documents will be provided for inspection and/or copying

 3   upon request. Plaintiff reserves the right to supplement this list if discovery reveals additional

 4   documents supporting Plaintiff’s claims.

 5          (a)     Loan origination documents

 6          (b)     Phone call logs from the relevant period

 7          (c)     Emails from the relevant period

 8          (d)     Deed of Trust

 9          (e)     Tax Returns and financial statements

10          (f)     Notice of Trustee’s Sale

11          (g)     Foreclosure-related documents

12          (h)     Bank account statements

13          (i)     Correspondence from Loan Servicers regarding the Loans

14          (j)     All documents evidencing any receipts of rental income related to the subject

15                  property

16

17          Plaintiffs reserve the right to update this list as additional documents and information are

18   produced by the parties, and as discovery continues in this case.

19

20   3. Computation of damages (Fed. R. Civ. P. 26(a)(1)(C))
21          A computation of each category of damages claimed by the disclosing party—who must

22   also make available for inspection and copying as under Rule 34 the documents or other

23   evidentiary material, unless privileged or protected from disclosure, on which each computation

24   is based, including materials bearing on the nature and extent of injuries suffered.

25          Plaintiffs are seeking the following damages:

26          (a)     Plaintiffs seek attorneys’ fees that will be determined at trial.
27          (b)     Plaintiffs also seek monetary damages for potential loss of property. Plaintiffs

28                  cannot, at this time, fully compute the extent of these damages, however, Plaintiffs

      PLAINTIFF’S INITIAL DISCLOSURES PURSUANT TO      -4-                                  3:21-CV-02560-LB
      FEDERAL RULES OF CIVIL PROCEDURE 26(A)
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 1                  will supplement disclosures with computation of damages as soon as the monetary

 2                  value is determined.

 3          (c)     Plaintiffs also seek monetary damages to compensate for the destruction of their

 4                  credit. Plaintiffs cannot, at this time, fully compute the extent of these damages,

 5                  but anticipate expert testimony will be used to determine what monetary value

 6                  credit destruction has. Plaintiffs believe the destruction to credit has resulted in

 7                  approximately $100,000.00 of damages from inability to obtain refinancing or

 8                  other loans for personal and business use. Plaintiffs will supplement disclosures

 9                  with computation of damages as soon as the monetary value credit destruction is

10                  determined.

11          (d)     Plaintiffs seek monetary damages for emotional distress resulting from the

12                  complained of allegations. Plaintiffs have suffered severe emotional distress as a

13                  result of Defendants’ conduct. Plaintiffs cannot, at this time, compute the extent of

14                  these damages, but anticipates expert testimony will be used to provide a monetary

15                  value to Plaintiff’s emotional distress and physical damages. Plaintiffs will

16                  supplement disclosures with computation of damages as soon as the monetary

17                  value of their emotional distress is determined.

18          (e)     Plaintiffs seek punitive damages. Plaintiffs cannot, at this time, compute the

19                  extent of these damages but will supplement disclosures with computation of

20                  punitive damages as soon as the monetary value of their punitive damages is
21                  determined.

22

23          Plaintiffs reserve the right to supplement this list if discovery reveals additional categories

24   of damages or materials bearing on the nature and extent of the injuries suffered.

25

26   4. Insurance Agreements (Fed. R. Civ. P. 26(a)(1)(D))
27

28

      PLAINTIFF’S INITIAL DISCLOSURES PURSUANT TO     -5-                                  3:21-CV-02560-LB
      FEDERAL RULES OF CIVIL PROCEDURE 26(A)
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 1          Plaintiffs are not aware of any insurance agreements that may be liable to satisfy part or

 2   all of a judgment that may be entered in the action to indemnify or reimburse for payments made

 3   to satisfy the judgment.

 4
            Dated: July 1, 2021                                  Respectfully submitted,
 5

 6                                                               MELLEN LAW FIRM

 7

 8                                                               __/s/ Matthew Mellen_______
                                                                 By: Matthew Mellen
 9
                                                                 Attorney for Plaintiffs
10                                                               TIMOTHY S. BOSTWICK
                                                                 MICHELLE L. NESSIER
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      PLAINTIFF’S INITIAL DISCLOSURES PURSUANT TO    -6-                                 3:21-CV-02560-LB
      FEDERAL RULES OF CIVIL PROCEDURE 26(A)
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 1
                                       CERTIFICATE OF SERVICE
 2
           I, the undersigned, declare that I am over the age of 18 and am not a party to this action. I
 3   am employed in the City of San Francisco California; my business address is Mellen Law Firm,
 4   1050 Marina Village Parkway, Suite 102, Alameda, CA 94501.

 5          On July 1, 2021 I served the following documents described as:
         PLAINTIFFS' INITIAL DISCLOSURES PURSUANT TO RULE 26(A)(1)
 6

 7   on the interested parties in this action by attaching true and correct copies thereof to electronic
     message addressed as follows:
 8
       Michael W. Stoltzman, Jr.                         Shannon C. Williams
 9     THE RYAN FIRM                                     Katelyn M.W. Burnett
       A Professional Corporation                        GHIDOTTI | BERGER, LLP
10
       2603 Main Street, Suite 1225                      1920 Old Tustin Avenue
11     Irvine, CA 92614                                  Santa Ana, CA 92705

12     mstoltzman@theryanfirm.com                        kburnett@ghidottiberger.com
13     Counsel for Defendant Seterus, Inc.               Counsel for Defendants SN Servicing Corp.
                                                         and U.S. Bank Trust National Association,
14
                                                         As Trustee of the Chalet Series III Trust
15

16          [X] ONLY BY ELECTRONIC SERVICE. By personally emailing the
            document(s) to the persons at the e-mail address(es) listed below. Service is based
17          on CCP 1010.6(e)(1), which states: “A party represented by counsel, who has
            appeared in an action or proceeding, shall accept electronic service of a notice or
18          document that may be served by mail, express mail, overnight delivery, or facsimile
            transmission. Before first serving a represented party electronically, the serving
19          party shall confirm by telephone or email the appropriate electronic service address
            for counsel being served.”
20
            I declare under penalty of perjury under the laws of the State of California that the
21
     foregoing is true and correct. Executed July 1, 2021 in Alameda, California.
22

23                                                                 _/s/ Matthew Mellen______
                                                                   MATTHEW MELLEN
24

25

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      PLAINTIFF’S INITIAL DISCLOSURES PURSUANT TO      -7-                                 3:21-CV-02560-LB
      FEDERAL RULES OF CIVIL PROCEDURE 26(A)
                                                   Case 3:21-cv-02560-LB Document 165 Filed 09/28/23 Page 26 of 27




                                              1                                   PROOF OF SERVICE
                                              2         I am over the age of eighteen years and not a party to the within action. I am
                                              3   employed by The Ryan Firm, A Professional Corporation, whose business address is:
                                                  2603 Main St, Suite 1225, Irvine, CA 92614.
                                              4
                                                  On September 8, 2023, I served the within document(s) described as: MOTION IN
                                              5   LIMINE NO. 3 BY DEFENDANT SETERUS, INC. TO EXLCUDE ANY
                                                  EVIDENCE OF PLAINTIFFS’ CLAIMED CREDIT DAMAGES (I.E., LOST
                                              6   PROFITS OF PLAINTIFFS’ SEPARATE BUSINESS ENTITY); DECLARATION
                                                  OF MICHAEL W. STOLTZMAN JR. on the interested parties in this action:
                                              7
                                                        by transmitting via electronic mail the document(s) listed above to the email
                                              8   addresses provided by counsel.
                                              9
                                             10          Name & Address              Telephone / Fax / E-mail               Role
                                                    Shapero Law Firm, P.C.         Tel: (415) 273-3504             Attorney for Plaintiffs
                                             11     100 Pine Street, Ste 530       Fax: (415) 358-4116             Timothy S. Bostwick
                                                    San Francisco, CA 94111        Email:                          and Michele L. Nessier
                                             12                                    sarah@shaperolawfirm.com
                A Professional Corporation




                                                                                                                   Attorney for Plaintiffs
THE RYAN FIRM




                                             13     Michael R. Brooks, Esq.        Tel: (702) 385-2500
                                                    Hutchison & Steffen, PLLC      Fax: ***                        Timothy S. Bostwick
                                             14     Peccole Professional Park      Email:                          and Michele L. Nessier
                                                    10080 West Alta Drive,         mbrooks@hutchlegal.com
                                             15
                                                    Suite 200
                                             16     Las Vegas, Nevada 89145
                                             17
                                                    Ghidotti Berger LLP            Tel: (949) 427-2010             Attorneys for
                                             18     Rachel Witcher                 Fax: (949) 427-2732             Defendant SN
                                                    1920 Old Tustin Ave.           Email:                          Servicing Corporation
                                             19     Santa Ana, CA 92705            rwitcher@ghidottiberger.com     and US Bank Trust
                                                                                                                   National Association
                                             20
                                                        BY ELECTRONIC SERVICE (Code Civ. Proc. § 1010.6) – My electronic
                                             21         service address is: hmorris@theryanfirm.com. I transmitted true and correct
                                                        electronic copies of the above document(s) to the persons at the electronic mail
                                             22         addresses listed above and said transmission was completed without error.
                                             23         (Federal) I declare that I am employed in the office of a member of the bar of this
                                             24         Court at whose direction the service was made.

                                             25         Executed on September 8, 2023, at Irvine, California.
                                             26
                                             27
                                                                                                    HEATHER MORRIS
                                             28


                                                                                        Proof of Service
                                                   Case 3:21-cv-02560-LB Document 165 Filed 09/28/23 Page 27 of 27




                                              1                                   PROOF OF SERVICE
                                              2         I am over the age of eighteen years and not a party to the within action. I am
                                              3   employed by The Ryan Firm, A Professional Corporation, whose business address is:
                                                  2603 Main St, Suite 1225, Irvine, CA 92614.
                                              4
                                                       On September 28, 2023, I served the within document(s) described as: MOTION
                                              5   IN LIMINE NO. 3 BY DEFENDANT SETERUS, INC. TO EXLCUDE ANY
                                                  EVIDENCE OF PLAINTIFFS’ CLAIMED CREDIT DAMAGES (I.E., LOST
                                              6   PROFITS OF PLAINTIFFS’ SEPARATE BUSINESS ENTITY); DECLARATION
                                              7   OF MICHAEL W. STOLTZMAN JR. on the interested parties in this action:

                                              8         by transmitting via electronic mail the document(s) listed above to the email
                                                  addresses provided by counsel.
                                              9
                                                         Name & Address              Telephone / Fax / E-mail               Role
                                             10
                                                    Shapero Law Firm, P.C.         Tel: (415) 273-3504             Attorney for Plaintiffs
                                             11     100 Pine Street, Ste 530       Fax: (415) 358-4116             Timothy S. Bostwick
                                                    San Francisco, CA 94111        Email:                          and Michele L. Nessier
                                             12                                    sarah@shaperolawfirm.com
                A Professional Corporation




                                                    Michael R. Brooks, Esq.        Tel: (702) 385-2500             Attorney for Plaintiffs
THE RYAN FIRM




                                             13                                    Fax: ***                        Timothy S. Bostwick
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                                                    Suite 200
                                             16     Las Vegas, Nevada 89145
                                             17     Ghidotti Berger LLP            Tel: (949) 427-2010             Attorneys for
                                                    Rachel Witcher                 Fax: (949) 427-2732             Defendant SN
                                             18     1920 Old Tustin Ave.           Email:                          Servicing Corporation
                                             19     Santa Ana, CA 92705            rwitcher@ghidottiberger.com     and US Bank Trust
                                                                                                                   National Association
                                             20
                                                        CM/ECF (U.S. District Court, Northern District of California)—The NEF that is
                                             21         automatically generated by the Court’s Electronic Filing System constitutes
                                                        service of the filed document(s) on registered users. All parties who are not
                                             22         registered, if any, were served in the manner set forth above.
                                             23
                                                        (Federal) I declare that I am employed in the office of a member of the bar of this
                                             24         Court at whose direction the service was made.
                                             25         Executed on September 28, 2023, at Irvine, California.
                                             26
                                             27                                                     /s/ Rose Conway
                                             28                                                     ROSE CONWAY



                                                                                        Proof of Service
